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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 21-01636 JVS (JDEx)                                   Date   November 17, 2021
 Title             Abhishek Satish Wagh et al. v. Donna Campagnolo et al.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Order to Show Cause

      The Court has preliminarily reviewed Abhishek Satish Wagh (“Wagh”) and Rutuja
Umesh Joshi’s (“Joshi”) (collectively, “Plaintiffs”) complaint and proof of service. See
Dkt. Nos. 1 and 9.

      Plaintiffs named Donna Campagnolo in her official capacity as Director of the
California Service Center of the United States Citizenship and Immigration Services
(“USCIS”), Alejandro Mayorkas in his official capacity as Secretary of the Department of
Homeland Security, Merrick Garland in his official capacity as Attorney General of the
United States, and Ur Mendoza Jaddou in her official capacity as Director of the USCIS.

       The Court is in receipt of only one certificate of service, with a summons
addressed to Donna Campagnolo, Director, California Service Center, USCIS, DHS,
24000 Avila Road, Laguna Niguel, CA 92677, that was delivered to the Civil Process
Clerk, U.S. Attorney for the Central District of California, 300 North Los Angeles Street,
Suite 7516, Los Angeles, California 90012. See Dkt. No. 9.

         Federal Rule of Civil Procedure 4(i) requires, in part, the following:

         (i) Serving the United States and Its Agencies, Corporations, Officers, or
         Employees.
                (1) United States. To serve the United States, a party must:
                       (A)(i) deliver a copy of the summons and of the complaint to the
                       United States attorney for the district where the action is brought—or
                       to an assistant United States attorney or clerical employee whom the
                       United States attorney designates in a writing filed with the court
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                            UNITED STATES DISTRICT COURT
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                        clerk—or
                        (ii) send a copy of each by registered or certified mail to the
                        civil-process clerk at the United States attorney's office;
                        (B) send a copy of each by registered or certified mail to the Attorney
                        General of the United States at Washington, D.C.; and
                        (C) if the action challenges an order of a nonparty agency or officer of
                        the United States, send a copy of each by registered or certified mail
                        to the agency or officer.
                 (2) Agency; Corporation; Officer or Employee Sued in an Official Capacity.
                 To serve a United States agency or corporation, or a United States officer or
                 employee sued only in an official capacity, a party must serve the United
                 States and also send a copy of the summons and of the complaint by
                 registered or certified mail to the agency, corporation, officer, or employee.
                 (3) Officer or Employee Sued Individually. To serve a United States officer
                 or employee sued in an individual capacity for an act or omission occurring
                 in connection with duties performed on the United States’ behalf (whether or
                 not the officer or employee is also sued in an official capacity), a party must
                 serve the United States and also serve the officer or employee under Rule
                 4(e), (f), or (g).

Fed. R. Civ. P. 4(i). Accordingly, Plaintiffs have failed to serve all parties.

      Therefore, the Court, on its own motion, hereby ORDERS Plaintiffs to Show
Cause (OSC) in writing no later than January 3, 2022, why this action should not be
dismissed for lack of prosecution. As an alternative to a written response by Plaintiffs,
the Court will consider the filing of the proofs of service of summons and complaint as an
appropriate response to this OSC, on or before the above date.

       Absent a showing of good cause, an action shall be dismissed if the summons and
complaint have not been served upon all defendants within 90 days after the filing of the
complaint. Fed. R. Civ. P. 4(m). The Court may dismiss the action prior to the
expiration of such time, however, if plaintiff(s) has/have not diligently prosecuted the
action.

       It is the plaintiff’s responsibility to respond promptly to all orders and to prosecute
the action diligently, including filing proofs of service and stipulations extending time
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

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under Rule 55 remedies promptly upon default of any defendant. All stipulations
affecting the progress of the case must be approved by the Court. Local Rule 7-1.

                 IT IS SO ORDERED.




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                                                      Initials of Preparer          lmb




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